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 6
                                     UNITED STATES DISTRICT COURT
 7
                                     EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                         No. 1:19-CR-00014 DAD-BAM
10
                        Plaintiff,                  STIPULATION REGARDING USE OF VIDEO-
11                                                  CONFERENCING DURING SENTENCING
            v.                                      HEARING; FINDINGS AND ORDER
12
     ENRIQUE LOPEZ,                                 DATE: June 2, 2020
13                                                  TIME: 9:00 a.m.
                        Defendants.                 PLACE: Dale A. Drozd
14                                                         Courtroom 5

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18                                            BACKGROUND

19          On January 10, 2020, Defendant entered a Guilty Plea to Count 1 of the Superceding

20   Indictment, 18 U.S.C. §8371 and 2113(a), Conspiracy to Commit Armed Bank Robbery.

21   Sentencing is set for June 2, 2020 at 9:00 a.m. before Honorable Dale A. Drozd.

22          On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic Security

23   Act (“CARES Act”). The CARES Act empowered the Judicial Conference of the United States

24   and Chief District Judges o authorize plea and sentencing hearings by video or telephonic

25   conference when 1) such hearings “cannot be conducted in person without seriously jeopardizing

26   public health and safety;” and 2) “the district judge in a particular case finds for specific reasons

27   that the plea or sentencing in that case cannot be further delayed without serious harm to the

28   interests of justice.” Id., Pub.L. 116-23 §15002(b)(2).
                                                       1
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 1          On March 29, 2020, the Judicial Conference of the United States made the findings
 2   required by the CARES Act, concluding that “emergency conditions due to the national
 3   emergency declared by the President under the National Emergencies Act (50 U.S.C. §1601, et
 4   seq.) with respect to the Coronavirus Disease 2019 (COVID-19) have materially affected and will
 5   materially affect the functioning of the federal courts generally.”
 6          On March 30, 2020, the Chief Judge of this District, per General Order 614, also made the
 7   findings required by the CARES Act: “[F]elony pleas under Rule 11 of the Federal Rules of
 8   Criminal Procedure and felony sentencings under Rule 32 of the Federal Rules of Criminal
 9   Procedure cannot be conducted in person without seriously jeopardizing public health and
10   safety.” Accordingly, the findings of the Judicial Conference and General Order 614 establish that
11   plea and sentencing hearings cannot safely take place in person.
12          In order to authorize sentencing hearings by remote means, however, the CARES Act – as
13   implemented by General Order 614 – also requires district courts in individual cases to “find, for
14   specific reasons, that felony pleas or sentencings in those cases cannot be further delayed without
15   serious harm to the interests of justice.” General Order 614 further requires that the defendant
16   consent to remote proceedings. Finally, the remote proceeding must be conducted by
17   videoconference unless “videoconferencing is not reasonably available.” In such cases, district
18   courts may conduct hearings by teleconference.
19          The parties hereby stipulate and agree that each of the requirements of the CARES Act
20   and General Order 614 have been satisfied in this case. They request that the Court enter an order
21   making the specific findings by the CARES Act and General Order 614. Specifically, for he
22   reasons further set below, the parties agree that:
23          1)      The sentencing hearing in this case cannot be further delayed without serious harm
24                  to the interest of justice, given the public health restrictions on physical contact
25                  and court closures existing in the Eastern District of California and defendant’s
26                  intended request at sentencing for a sentence of time served to be considered; the
27                  Presentence Report establishes the Sentence Guideline Range as 60 months and
28                  recommends a term of imprisonment of 60 months; and
                                                          2
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 1          2)     The defendant waives his physical presence at the hearing and consents to remote
 2                 hearing by videoconference and counsel joins in that waiver; and
 3

 4                                           STIPULATION
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 6          Plaintiff, United States of America, by and through its counsel of record, and defendant,
 7   by and through defendant’s counsel of record, hereby stipulate as follows:
 8          1.     The Governor of the State of California declared a Proclamation of a State of
 9                 Emergency to exist in California on March 4, 2020.
10          2.     On March 13, 2020, the President of the United States issued a proclamation
11                 declaring a National Emergency in response to the COVID-19 pandemic.
12          3.     In their continuing guidance, the Centers for Disease Control and Prevention
13                 (CDC) and other public health authorities have suggested the public avoid social
14                 gatherings in groups of more than 10 people and practice physical distancing
15                 (within about six feet) between individuals to potentially slow the spread of
16                 COVID-19. The virus is thought to spread mainly form person-to-person contact,
17                 and no vaccine currently exists.
18          4.     These social distancing guidelines – which are essential to combatting the virus –
19                 are generally not compatible with holding in-person court hearings.
20          5.     On March 17, 2020, this Court issued General Order 611, noting the President and
21                 Governor of California’s emergency declarations and CDC guidance, and
22                 indicating that public health authorities within the Eastern District had taken
23                 measures to limit the size of gatherings and practice social distancing. The Order
24                 suspends all jury trials in the Eastern District of California scheduled to commence
25                 before May 1, 2020.
26          6.     On March 18, 2020, General Order 612 was issued. The Order closed each of the
27                 courthouses in the Eastern District of California to the public. It further authorized
28                 assigned district court judges to continue criminal matters after May 1, 2020 and
                                                      3
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 1                  excluded time under the Speedy Trial Act. General Order 612 incorporated
 2                  General Order 611’s findings regarding the health dangers posed by the pandemic.
 3            7.    On April 16, 2020, the Judicial Council of the Ninth Circuit declared a judicial
 4                  emergency in this District pursuant to 18 U.S.C. §3174(d), based on the District’s
 5                  “critically low resources across its heavy caseload.” The report accompanying the
 6                  Judicial Council’s declaration analyzed the public safety dangers associated with
 7                  the COVID-19 pandemic and examined both the District’s caseload ( the District
 8                  currently ranks first in the Ninth Circuit and eight nationally in weighted findings)
 9                  and its shortage of judicial resources (the District is currently authorized only six
10                  district judges, two of those positions are currently vacant). The report further
11                  explained that a backlog of cases exists that “can only start to be alleviated” when
12                  the CDC lifts its guidance regarding gatherings of individuals.
13            8.    On April 17, 2020, General Order 617 issued, continuing court closures through
14                  June 1, 2020 and authorizing further continuances of hearings and exclusions
15                  under the Speedy Trial Act.
16            9.    Given these facts, it is essential that Judges in this District resolve as many matters
17                  as possible via videoconference and teleconference during the COVID-19
18                  pandemic. By holding these hearings now, this District will be in a better position
19                  to work through the backlog of criminal and civil matters once in-person hearings
20                  resume.
21            10.   The sentencing hearing in this case accordingly cannot be further delayed without
22                  serious harm to the interests of justice. If the Court were to delay this hearing until
23                  it can be held in-person, it would only add to the enormous back log of criminal
24                  and civil matters facing this Court, and every Judge in this District, when normal
25                  operations resume.
26            11.   Under CARES Act §15002(b), defendant consents to proceed with this hearing by
27                  video-teleconference. Counsel joins in this consent.
28   ///
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 1          IT IS SO STIPULATED.
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     Dated: May 26, 2020                                  /s/ Ross Pearson
 5                                                        ROSS PEARSON
                                                          Assistant United States Attorney
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 7

 8   Date: May 26, 2020                                   /s/ W. Scott Quinlan
                                                          Attorney for Defendant ENRIQUE LOPEZ
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11                                    FINDINGS AND ORDER
12          1.     The Court adopts the findings above.
13          2.     Therefore, based on the findings above, and under the Court’s authority under
14   §15002(b) of the CARES Act and General Order 614, the sentencing hearing in this case will be
15   conducted by videoconference on June 2, 2020 at 9:00 a.m.
16   IT IS SO ORDERED.
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        Dated:    May 26, 2020
18                                                     UNITED STATES DISTRICT JUDGE
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